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13                           UNITED STATES DISTRICT COURT

14                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

15   UNITED STATES OF AMERICA,                No. CR 20-35-JFW

16              Plaintiff,                    GOVERNMENT’S SENTENCING POSITION
                                              FOR DEFENDANT MITCHELL ENGLANDER;
17                   v.                       DECLARATION OF MACK E. JENKINS;
                                              EXHIBIT
18   MITCHELL ENGLANDER,
                                              [Exhibit 2 concurrently lodged and
19              Defendant.                    filed under seal]

20                                            Hearing Date: January 25, 2021
                                              Hearing Time: 8:00 a.m.
21                                            Location:     Courtroom of the
                                                            Hon. John F. Walter
22

23

24        Plaintiff United States of America, by and through its counsel
25   of record, the United States Attorney for the Central District of
26   California and Assistant United States Attorneys Mack E. Jenkins,
27   Veronica Dragalin, and Melissa Mills, hereby files its Sentencing
28
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1    Position for Defendant Mitchell Englander in the above-captioned

2    case.

3         The government’s Sentencing Position is based upon the attached

4    memorandum of points and authorities, Declaration of Mack E. Jenkins

5    and attached Exhibit 1, the concurrently lodged under seal Exhibit 2,

6    the files and records in this case, the Presentence Investigation

7    Report, the Recommendation Letter, and such further evidence and

8    argument as the Court may permit.

9    Dated: January 11, 2021              Respectfully submitted,

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1                       MEMORANDUM OF POINTS AND AUTHORITIES

2    I.   INTRODUCTION

3         Defendant Mitchell Englander was a powerful and wealthy Los

4    Angeles City Councilmember who swore an oath to serve the interests

5    of his constituents.     He swore another oath as a reserve officer with

6    the Los Angeles Police Department to uphold and protect the law.

7    Instead, defendant illicitly cashed in on his status as a purported

8    public servant in casino bathrooms and through VIP bottle service,

9    luxury dinners, and behind hotel room doors.         Over numerous incidents

10   of escalating corruption and self-preservation, defendant sold out

11   both oaths, cheaply and repeatedly.        After resigning in the middle of

12   his term after he was questioned in the instant investigation,

13   defendant successfully parlayed his government service into a

14   lucrative private practice position as a government consultant with a

15   major entertainment company.

16        Through his continued corrupt conduct, defendant betrayed his

17   oath to serve the public and betrayed his oath to uphold the law;

18   moreover, defendant did so in a manner that caused a stain not just

19   on him but also on City government and the LAPD.          The effect was to

20   further sever an already fraying trust of the defendant’s

21   constituents in those crucial City institutions.          Particularly

22   aggravating, defendant engaged in this pervasive wrongdoing not for

23   any urgent need or as the result of any aberrant life circumstance –

24   he was motivated by plain old-fashioned greed, selfishness, and a

25   desperate desire to cling to his status as a wealthy and powerful

26   City official.    After being provided numerous opportunities to come

27   clean and live up to his oaths, defendant unapologetically chose to

28   do the opposite each and every time.        It was not until facing federal
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1    indictment on seven charges, each supported by overwhelming evidence,

2    that defendant finally dropped his crumbling veneer and agreed to

3    admit essentially all of the facts the government alleged against

4    him.

5           For his pattern of coolly calculated criminality and trampled

6    public trust that defendant leaves in his wake -- which will cause

7    lasting civic damage by undermining the City’s faith in its public

8    servants -- a meaningful term of imprisonment is warranted.            The

9    government respectfully recommends that the Court impose the

10   following sentence: (a) 24 months’ imprisonment; (b) three years’

11   supervised release; (c) a $45,000 fine; (d) 300 hours of community

12   service; and (e) a special assessment of $100.

13   II.    STATEMENT OF FACTS

14          In the summer of 2017, the U.S. Attorney’s Office and FBI were

15   engaged in an expansive inquiry into corruption within the City of

16   Los Angeles.    The investigation focused primarily on corrupt

17   relationships between City officials, their proxies, and real estate

18   developers and their proxies, including foreign nationals and

19   entities.    It also examined the City system that empowered certain

20   City officials to wield outsized influence on the business decisions

21   of, particularly, real estate and related companies.           A key focus of

22   the government was close review of the required Statement of Economic

23   Interest - Form 700 for numerous City officials.          The California Fair

24   Political Practices Commission mandates important financial

25   disclosures via the Form 700 as a means to monitor City officials’

26   financial relationships, and their public disclosure is intended to

27   deter cultivating corrupt relationships.         (CR 1 “Indictment” ¶ 4.)

28   However, because it relies entirely on the candor of the reporting

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1    official, it is a check that is easy to evade and difficult to

2    enforce.

3         In June 2017, defendant was an elected City Councilmember

4    representing Council District 12 in the San Fernando Valley.            He

5    served as the Council President Pro-Tempore and was a member of

6    several powerful committees, including the Planning and Land Use

7    Management (“PLUM”) Committee.       Defendant was also a reserve member

8    of the LAPD.    (PSR ¶¶ 7-8.)    As an elected public official, defendant

9    had a duty to prioritize loyalty to his constituents, the laws, and

10   ethical principles above private gain.        As a law enforcement officer,

11   he took an oath to uphold the law.        Between June 2017 and his arrest

12   in March 2020, defendant repeatedly breached this duty and oath.

13        In June 2017, defendant accepted benefits from a businessperson

14   on trips in Las Vegas and Palm Springs, including a total of $15,000

15   in cash inside casino bathrooms on two separate occasions, hotel

16   accommodations, an extravagant meal, approximately $34,000 in bottle

17   service at a nightclub, and escort services sent to defendant’s hotel

18   room.    Other public officials accompanied defendant on the Las Vegas

19   trip, including a high-ranking member of defendant’s staff and George

20   Esparza, a staffer for Jose Huizar, who was a fellow City

21   councilmember and chair of the PLUM Committee.          (PSR ¶¶ 9-13.)    Days

22   after these trips, defendant agreed to and did arrange for the

23   businessperson to meet a developer to promote his business.            (PSR

24   ¶ 14.)

25        Defendant’s first violation of the public’s trust occurred when

26   he accepted the financial benefits provided by Businessperson A.               Any

27   reasonable private citizen would think twice before accepting $15,000

28   in cold cash without a purpose.       One would certainly have to question

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1    whether such a generous “gift” could, in return, leave the recipient

2    vulnerable to distasteful requests or demands in the future.            That

3    potential was heightened given defendant’s position as an elected

4    official bound by certain laws and ethical requirements.           By

5    accepting cash from a businessperson with no personal ties to him and

6    seeking business favors, defendant opened himself up to improper

7    influence and potential blackmail.        He violated ethics rules by

8    failing to report the lavish gifts on his Form 700.           (PSR ¶ 30.)

9    Defendant’s willingness to ingratiate himself with a businessperson

10   who wanted something from him -- something that defendant could

11   provide -- and who provided him lavish gifts was the start of a

12   concerning and predictable relationship.         In the government’s view,

13   the evidence shows it likely would have blossomed into federal

14   bribery had law enforcement not intervened, and had the

15   businessperson not made the choice to accept accountability and

16   cooperate in the federal investigation.

17        By August 2017, defendant learned that the FBI was investigating

18   the Las Vegas trip.     (CR 24 ¶ 9; PSR ¶ 16.)      After learning of the

19   federal investigation, defendant engaged in a campaign of false

20   statements, obstruction, and witness tampering that repeatedly

21   violated his duties and responsibilities as an elected official and

22   member of law enforcement.      Defendant’s obstruction campaign was

23   calculated, extensive in scope and duration, and designed to mislead

24   investigators at every turn through multiple means.

25        Shortly after learning about the investigation, defendant

26   created a document to mislead investigators.         Although months had

27   passed since the June 1, 2017 trip and defendant had since met with

28   Businessperson A on at least two occasions without offering to

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1    reimburse any expenses, he sent a reimbursement check to

2    Businessperson A only after learning that the FBI was asking

3    questions, and backdated the check to give the impression he intended

4    to reimburse the expenses before the FBI reached out to request an

5    interview.    (PSR ¶¶ 13-16.)

6          By October 4, 2017, defendant had learned that the FBI had

7    interviewed three witnesses from the Las Vegas trip: Businessperson

8    A, City Staffer B, and George Esparza.         (PSR ¶ 17.)    Defendant began

9    coordinating his story with other witnesses, including by meeting

10   with City Staffer B and by telling Businessperson A what City Staffer

11   B had been asked and how he responded to FBI questioning.            (Id.)

12         Defendant had more than one month to consider the choice he

13   would make when the FBI asked him questions.          He hired prominent

14   attorneys to counsel him and had weeks to consider his options when

15   confronted with a difficult choice.        (PSR ¶¶ 16, 18.)     Defendant

16   could have come clean about accepting $15,000 in cash from a

17   businessperson who had suspicious dealings with multiple public

18   officials in Los Angeles, which would have helped federal
19   investigators uncover public corruption.         Or defendant could have

20   simply exercised his right not to speak with the FBI.           Instead, he

21   made the wrong choice at every turn.

22         Over the course of 18 months, defendant spoke to federal

23   investigators on three separate occasions and repeatedly espoused

24   false statements to cover up his unethical behavior and his

25   increasingly criminal conduct.       (PSR ¶¶ 18, 25, 33-36.)       Defendant’s

26   last FBI interview, on December 31, 2018, occurred less than two

27   months after the FBI executed widely publicized search warrants at

28   Jose Huizar’s residence and City offices.         Armed with personal

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1    knowledge that a corrupt businessperson who had ties to Huizar’s

2    staffer had also provided $15,000 in cash to defendant, he still

3    chose to mislead investigators by lying about his own receipt of

4    gifts from this individual.       (PSR ¶¶ 33-36.)

5          Defendant did not stop at repeatedly lying to federal agents and

6    prosecutors.    His attempts to thwart the investigation and cover his

7    tracks escalated over time, employing obstructionist tactics in a

8    calculated campaign to keep investigators from learning the truth

9    about his conduct.     Defendant used encrypted and disappearing

10   messages to coordinate his story with another witness, and then he

11   lied to the FBI about ever using that messaging service at all.             (PSR

12   ¶¶ 15, 19, 20, 22, 26, 36.)       He urged Businessperson A to use a

13   different phone number when discussing the FBI, demonstrating a

14   concern that their phones were being tapped and a calculated intent

15   to avoid detection.      (PSR ¶ 20.)    Defendant changed a meeting

16   location at the last minute, “turned up the car stereo volume” and

17   “drove in circles around the block” while directing Businessperson A

18   on how to respond to FBI questions, again demonstrating an attempt to

19   avoid law enforcement surveillance and listening devices. 1 (PSR

20   ¶ 27.)

21         Most egregiously, defendant was caught red-handed on recordings

22   attempting to repeatedly tamper with a witness in the federal

23   investigation.     He brazenly directed Businessperson A how to answer

24

25
           1As can be heard on the audio recording, when Businessperson A
26   first entered defendant’s car, the radio was not on and defendant
     spoke at a normal volume when exchanging innocuous greetings.
27   However, he then turned on the radio and turned up the volume and
     lowered his voice to a whisper right when he stated, “so I met with
28   them again,” referring to his FBI interview five days earlier. See
     Exhibit 2 at 00:00-00:32 (concurrently lodged under seal).
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1    questions from the FBI, what information to withhold, and how to lie

2    to the FBI.    See, e.g., PSR ¶ 25(e) (defendant told Businessperson A

3    “what questions to expect, what to say, and what not say during the

4    interviews”), ¶ 27 (“we never had a conversation ... don’t mention it

5    at all”); Exhibits 1-2.      Defendant repeatedly portrayed himself as

6    someone knowledgeable about how investigators would approach the

7    interview.    (PSR ¶¶ 22, 28, 32.)        Only after being confronted with

8    irrefutable evidence of his crimes – which included recordings of his

9    own words - did defendant finally admit he “counseled Businessperson

10   A how to lie to and mislead the FBI and USAO.”          (CR 24 ¶ 8.)

11         Between his last interview in December 2018 and his arrest in

12   March 2020, defendant had time to reflect on his actions, his past

13   choices, and the way he betrayed the citizens he was elected to

14   represent, his fellow public servants who serve with honor and

15   integrity, and his fellow law enforcement officers who uphold the law

16   even in difficult circumstances.          After leaving public service early

17   with two years left in his elected term, defendant used his public

18   platform to secure a lucrative career in private practice without
19   ever correcting the multiple false statements that he had made to

20   investigators in an attempt to protect himself and his earning

21   potential.    The citizens of Los Angeles expect and deserve more from

22   their elected officials and public servants.

23   III. THE PRESENTENCE INVESTIGATION REPORT

24         On December 21, 2020, the USPO disclosed the PSR and its

25   recommendation letter.      (CR 39 “PSR Ltr.”; CR 40.)       The USPO found

26   that defendant’s total offense level was 4, based on a base offense

27   level of 6 under U.S.S.G. § 2B1.1, and no additional specific offense

28   characteristics or adjustments.        The government concurs with the

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1    USPO’s calculation of Criminal History Category I.           With respect to

2    imprisonment, the USPO recommended the lowest possible sentence of no

3    custody and three years of probation.         However, the USPO also found

4    that the factors called for the high-end of the fine range and

5    recommended a $9,500 fine along with a $100 special assessment. 2

6    (PSR Ltr.)    The USPO recommended no community service.          The

7    government objected to the USPO’s Guidelines calculations and

8    calculated the total Guidelines offense level to be 15 (CR 41 “Gov’t

9    Objections”), resulting in a Guidelines range of 18 to 24 months’

10   imprisonment and a fine range of $7,500 to $75,000.           U.S.S.G.

11   § 5E1.2.    As the PSR notes, defendant agreed not to appeal the

12   Court’s sentence provided it does not exceed 36 months’ imprisonment;

13   the government agreed not to appeal provided defendant is sentenced

14   to at least 18 months’ custody.        (PSR ¶ 4; CR 24 “Plea Agreement”

15   ¶¶ 14-15).

16         As previewed in its objections (Gov’t Objections at 1 fn.1), the

17
           2No justification for this lopsided recommendation is offered
18   or apparent. Absent any explanation to the contrary, it stands to
     reason that whatever the USPO’s rationale may be for recommending a
19   sentence at the high end of the applicable guideline for a fine in
     this case, it would similarly compel a recommendation for a sentence
20
     of high-end imprisonment. Otherwise, this apparent disparity would
21   operate to afford defendant – a former City Councilman and law
     enforcement officer with financial means, influence, and name
22   recognition — the advantage of paying more money in order to avoid
     serving prison time that would otherwise be warranted under the
23   overall sentencing framework. Any such bias, whether implicit or
     otherwise, favoring wealthy and powerful defendants over defendants
24
     without substantial resources or influence is not consistent with
25   justice and the Guidelines. See United States v. Treadwell, 593 F.3d
     990, 1012–13 (9th Cir. 2010). As outlined below, this disparate
26   treatment seems interwoven throughout the USPO’s support for its
     probationary recommendation.
27

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1    government also respectfully submits that the USPO improperly

2    analyzed the § 3553(a) factors.        More concerning, by

3    disproportionately emphasizing certain mitigating factors,

4    incorrectly relying on speculative collateral consequences, and

5    ignoring or minimizing other aggravating factors and required

6    statutory factors, the proffered analysis results in a two-tier

7    system of justice – a more flexible and lenient one for white-collar

8    defendants, and a more rigid and severe one for “other” criminals.

9    As detailed at length below, courts across the country have rejected

10   this dichotomy as inconsistent with fundamental fairness and the

11   statutory goals of sentencing.       See Treadwell, 593 F.3d at 1012–13

12   (overruled on other grounds) (rejecting the principle that a

13   defendant of means should be afforded a lower prison sentence to

14   enable him to pay restitution to his fraud victims, and noting the

15   critical importance of “the minimization of discrepancies between

16   white- and blue-collar offenses, and limits on the ability of those

17   with money or earning potential to buy their way out of jail”)

18   (quoting United States v. Mueffelman, 470 F.3d 33, 40 (1st Cir.
19   2006)); United States v. Stefonek, 179 F.3d 1030, 1038 (7th Cir.

20   1999) (white-collar criminals are “not to be treated more leniently

21   than members of the ‘criminal class’”).

22         While it is certainly true that various § 3353(a) factors can be

23   weighted differently by reasonable minds, the law requires they not

24   be weighed to unjustly favor certain classes of defendants and

25   disfavor others; furthermore, no factors should be omitted from the

26   balancing.    See United States v. Bragg, 582 F.3d 965, 969 (9th Cir.

27   2009) (“The very broad discretion of district judges in sentencing

28   post-Booker does not extend to ignoring sentencing factors mandated

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1    by statute.”); Gall v. United States, 552 U.S. 38, 49–50, (2007)

2    (district judges are required to “consider         all of the § 3553(a)

3    factors to determine whether they support the sentence requested by a

4    party”) (emphasis added).       Unfortunately, the USPO’s § 3553(a)

5    analysis suffers both these infirmities.

6    IV.   GOVERNMENT’S SENTENCING RECOMMENDATION

7          It is inescapable that this case is, at its core, borne from

8    corruption.    Public corruption is not a victimless crime. 3

9    Obstruction of justice and witness tampering by a public official and

10   LAPD reserve officer are not victimless crimes, even where the

11   witness is an FBI source.       More than ever, when a public official is

12   revealed to have cashed in on his oath, lied to federal agents to

13   protect his career and image, and endeavored to corrupt others

14   through obstruction, the harm to the public’s trust in its government

15   is deeply and lastingly affected.        Adding to the import of this case,

16   uncovering this type of conduct is often exceptionally difficult and

17   takes years of dedicated investigation.         Moreover, success of these

18   investigations often hinges on a conspirator actually taking

19   accountability for their actions and agreeing to cooperate.            For

20   example, had Businessperson A ultimately not elected to come clean,

21   it is highly likely that defendant’s conduct would have gone

22   undetected and his lies would have been rewarded.           Attempts to

23   minimize the core corruption conduct here or disconnect it from its

24

25
           3See, e.g., Divoungy, O. and Hill, B., “Corruption Costs
26   Illinois Taxpayers at Least $550M Per Year” (discussing how not only
     does corruption lessen residents’ faith in the government, it
27   decreases economic growth and disincentivizes investments in the
     state), available at
28   https://www.illinoispolicy.org/reports/corruption-costs-illinois-
     taxpayers-at-least-550m-per-year/.
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1    resultant public harm are refuted by the facts and otherwise do a

2    disservice to the statutory goals of sentencing.

3          The government respectfully requests that the Court adopt the

4    factual findings and criminal history calculation of the PSR in this

5    matter (subject to the objections lodged by the government at CR 41),

6    and the additional factual information in this sentencing position.

7    Defendant’s total offense level should be 15.          However, regardless of

8    the final Guidelines calculation, the government’s recommended

9    sentence is grounded in a balancing of the aggravating and mitigating

10   § 3553(a) factors, as set forth below.         In accordance with the

11   § 3553(a) factors and the foregoing, the government recommends that

12   the Court impose the following sentence: (a) 24 months of

13   imprisonment; (b) three years of supervised release; (c) $45,000

14   fine; 4 (d) 300 hours of community service; 5 and (e) a special

15   assessment of $100.

16         A.    Nature and circumstances of the offense(s) warrant a
                 meaningful custodial sentence
17
           Contrary to the USPO’s conclusion that this was a “relatively
18
     simple” offense, this was not a run-of-the-mill violation of 18
19

20        4 The government calculates the fine range as $7,500 to $75,000
     based on an offense level 15. U.S.S.G. § 5E1.2. $45,000 represents
21   three times the $15,000 in cash defendant was unjustly enriched by
     Businessperson A (not accounting for the other thousands defendant
22   accepted as gifts in Las Vegas and at various dinners) and is
     slightly above the mid-range of the Guidelines. The government
23   believes the weight of the sentence should be focused on the
     custodial term but with a significant fine added to support the
24   overall sentence and address the financial gain to defendant by his
     conduct. The PSR supports defendant’s ability to pay a fine in this
25   amount (at minimum, by the end of his supervised release term).
26        5 Given the obstacles defendant overcame from his childhood and
     his work in the public sector, and given that he works from home as a
27   consultant and thus maintains a flexible schedule, he seems a prime
     candidate for a sentence including community service. He can help
28   others avoid the mistakes he made and give back to the community
     whose trust he violated.
                                     11
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1    U.S.C. § 1001.     Far from it.    The PSR itself refutes its own

2    dismissive description as the offense conduct here spans 30

3    paragraphs of the PSR, not including numerous subparagraphs. (PSR

4    ¶¶ 6-36.)    As a reserve LAPD law enforcement officer himself – a

5    background that most 1001 defendants inarguably lack - defendant knew

6    how critical it was for law enforcement to interview witnesses and

7    obtain truthful statements from witnesses.         He knew that his truthful

8    statements would be valuable information and would help uncover

9    corrupt conduct by a businessperson who provided concealed benefits

10   to elected and public officials and corrupt conduct by those

11   officials who accepted said benefits.         Defendant also knew that his

12   false statements would hinder the FBI’s investigation; indeed, that

13   was his goal.    Even private citizens are expected to provide truthful

14   information in connection with a federal investigation.            Private

15   citizens are often called upon to give statements and testify to

16   ensure that criminals are prosecuted and convicted in order to

17   protect the public.      Of course, when a witness occupies a position of

18   trust such as law enforcement or elected office, this expectation is

19   significantly heightened.

20         When faced with sentencing conduct that adversely impacts public

21   trust in the fairness and integrity of government, also “at stake is

22   the collective reputation of all elected officials, particularly

23   those at the pinnacle of power and prestige. What happens when that

24   public trust is abused by corrupt acts? The offender’s reputation is

25   sullied and with it the reputation of honest and stalwart public

26   servants. The judicial response to demonstrated corruption by the

27   political elite and the lapse of duty, honor, and integrity it

28   represents is as important as the corruption itself.” United States

                                           12
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1    v. Morgan, 635 F. App'x 423, 447 (10th Cir. 2015) (reversing district

2    court and finding sentence of probation unreasonable in public

3    corruption case of state senator).

4          The PSR Letter addresses defendant’s criminal conduct in a

5    cursory paragraph that apparently draws no connection between

6    defendant’s public official status and the $15,000 in secret cash

7    that he accepted from a businessperson seeking to buy his influence. 6

8    It does not analyze or even reference Businessperson A’s critical

9    context to defendant’s deceptive actions.         In particular, it goes

10   unmentioned that “Businessperson A was seeking to increase his

11   business opportunities in the City.        Among the ways Businessperson A

12   would accomplish this was to provide certain elected and other public

13   officials with” a sundry of illicit benefits. (Indictment ¶ 5.)             The

14   PSR Letter does not address how many times defendant chose to lie, or

15   over what period of time; it does not address how many times he

16   attempted to tamper with a witness.        These omissions undermine the

17   true harm and corrupt nature of the offenses defendant committed.

18   The nature and circumstances of the offenses conduct warrant a

19   meaningful custodial sentence.

20         B.    General Deterrence Is Paramount in Public Corruption Cases

21         Courts have identified why general deterrence is uniquely

22

23
           6Despite having a “related case” section in the PSR, the PSR
24   also overlooks that Businessperson A plays a prominent role in the
     racketeering bribery scheme in related case United States v. Jose
25   Huizar, et al., 20-CR-326(A)-JFW. There, City Councilmember Jose
     Huizar is alleged to have accepted a series of bribes and payments
26   from Businessperson A as part of Businessperson A’s attempt to use
     Huizar’s City councilmember status to increase business
27   opportunities. See CR 74, First Superseding Indictment, Overt Act
     Nos. 301-333. The parallels of Businessperson A’s role in the
28   (admittedly more developed) bribery case against Huizar and his
     interactions with defendant here should not be ignored.
                                     13
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1    critical to public corruption crimes. “General deterrence comes from

2    a probability of conviction and significant consequences. If either

3    is eliminated or minimized, the deterrent effect is proportionately

4    minimized. This country depends on honest representative democracy

5    and, while our system is imperfect, it does not generally suffer from

6    widespread corruption. Its proper functioning requires elected

7    officials to serve the common good, not illicit personal gain. Our

8    citizens place faith in the honesty and integrity of elected

9    officials. Without meaningful consequences for a breach of trust,

10   their trust is no more than blind trust.”         Morgan, 635 F. App'x 423,

11   450.    By their nature, white-collar crimes are often difficult to

12   detect; this makes enhanced general deterrence even more necessary.

13   See United States v. Brown, 880 F.3d 399 (7th Cir. 2018) (district

14   court did not err in relying on idea that white-collar criminals were

15   prime candidates for general deterrence; district court was entitled

16   to conclude that where there was a lower likelihood of getting

17   caught, a serious penalty was necessary to ensure deterrence).

18          Congress has recognized that deterrence is a crucial factor in
19   sentencing decisions for economic and public corruption crimes such

20   as this one.    See S.Rep. No. 98–225, at 76 (1983), reprinted in 1984

21   U.S.C.C.A.N. 3182, 3259 (“[A] purpose of sentencing is to deter

22   others from committing the offense. This is particularly important in

23   the area of white collar crime. Major white collar criminals often

24   are sentenced to small fines and little or no imprisonment.

25   Unfortunately, this creates the impression that certain offenses are

26   punishable only by a small fine that can be written off as a cost of

27   doing business.”); United States v. Mueffelman, 470 F.3d 33, 40 (1st

28   Cir. 2006) (recognizing importance of “the deterrence of white-collar

                                           14
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1    crime (of central concern to Congress), the minimization of

2    discrepancies between white-and blue-collar offenses, and limits on

3    the ability of those with money or earning potential to buy their way

4    out of jail”).

5          Finally, not only is general deterrence a particularly critical

6    goal in sentencing white-collar defendants, importantly, courts have

7    recognized it is also a particularly effective sentencing tool in

8    such cases.      This is because white collar criminals often premeditate

9    their crimes and engage in a cost-benefit analysis.           See, e.g.,

10   United States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006)

11   (“Because economic and fraud based crimes are more rational, cool,

12   and calculated than sudden crimes of passion or opportunity, these

13   crimes are prime candidates for general deterrence. Defendants in

14   white collar crimes often calculate the financial gain and risk of

15   loss, and white collar crime therefore can be affected and reduced

16   with serious punishment.”).       Defendant’s conduct here falls squarely

17   within the type of criminality Congress and courts target for general

18   deterrence.
19               1.     A lenient sentence here would embolden, rather than
                        deter, future crime
20
           As set forth above, one of the primary objectives of sentencing
21
     elected officials is to make clear to other public officials that
22
     abusing their position of trust and violating the law by profiting
23
     off their position and obstructing justice are serious breaches of
24
     their oath that carry with them a correspondingly serious punishment.
25
     Imposing a lenient sentence in this case would send the opposite
26
     message - it would encourage rather than discourage public officials
27
     from obstructing public corruption probes by supporting a reasonable
28

                                           15
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1    conclusions that (1) they will face minimal criminal penalty if

2    caught, and (2) if they successfully obstruct, they will maintain

3    their political image, their power, and their pathway to a lucrative

4    future.   In such a calculus, for those inclined toward corruption,

5    obstructing justice and committing crimes simply become a worthwhile

6    investment to maintain status as a public official and exploit it for

7    personal gain.     This calculus cannot be endorsed in a functioning

8    democracy.    Where that leniency drops to the level of a probationary

9    sentence notwithstanding the egregious facts of defendant’s conduct

10   here, the failing is even more stark. “The threat of spending time on

11   probation simply does not, and cannot, provide the same level of

12   deterrence as can the threat of incarceration in a federal

13   penitentiary for a meaningful period of time.” United States v.

14   Livesay, 587 F.3d 1274, 1279 (11th Cir. 2009); see also United States

15   v. Kuhlman, 711 F.3d 1321, 1328 (11th Cir. 2013) (“We are hard-

16   pressed to see how a non-custodial sentence serves the goal of

17   general deterrence.”).

18               2.     Specific deterrence also compels a custodial sentence
19         While making no reference to general deterrence, the USPO

20   concludes that a probationary sentence will achieve specific

21   deterrence of defendant because he has support from family, friends,

22   community members, and other “positive influences in his life.”             (PSR

23   Ltr. at 3).      The problem with this analysis is that it does not

24   address the fact that defendant enjoyed each of these positive

25   influences in his life throughout the entire time that he: (a) took

26   illicit cash in bathrooms from a businessperson seeking to buy

27   influence; (b) enjoyed luxury benefits as a public official and hid

28   them on his Form 700; (c) lied to the FBI, repeatedly; and (d)

                                           16
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1    obstructed justice by endeavoring to tamper with a witness,

2    repeatedly.    In addition, the quantitative nature of defendant’s

3    conduct here strongly supports the need for strong specific

4    deterrence, especially when compared to other defendants who engaged

5    in just a single act of criminality.        That is, when defendant first

6    elected to sit down for an interview, his criminal defense lawyer by

7    his side, with the FBI and USAO who were conducting a pay-to-play

8    corruption investigation into the City, defendant had plenty of time

9    to think about exactly what he would do.         He also had plenty of time

10   to realize he was in serious trouble.         Defendant knew this because he

11   had very recently received a series of illicit gifts from

12   Businessperson A.     Yet, during this extensive interview, defendant

13   did not break down, he did not confess, he did not express

14   accountability or suggest a hint of remorse.          He did the opposite; he

15   lied and then he obstructed.       This exact scenario played itself out

16   again in February 2018, except now defendant knew he was in even

17   deeper trouble because he had committed new criminal conduct with his

18   lies and obstruction.      Yet, instead of being deterred from additional

19   crimes, defendant doubled down on the lies and doubled down on the

20   obstruction.    Tellingly, this scenario repeated itself for a third

21   time in December 2018 as defendant futilely hoped that his abrupt

22   exit from public service to the greener pastures of private practice

23   would also hasten his escape from this investigation’s focus.             As a

24   result, his conduct got more brazen and more resolute; and it

25   resulted in more lies and more obstruction.          Analyzed under the

26   timeline of defendant’s continuing and escalating conduct, a

27   significant term of imprisonment is necessary to specifically deter

28   defendant from future criminal conduct and lies.

                                           17
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1          C.    Need to reflect the seriousness of the offense, to promote
                 respect for the law, and to provide just punishment for the
2                offense

3          In reaching an appropriate sentence, this Court must consider

4    “the seriousness of the offense and its harm to the reputation of

5    honest public servants and the public faith in legitimate state

6    government.”    Morgan, 635 F. App'x 423, 448.        In considering “the

7    need for the sentence imposed to promote respect for the law and to

8    provide just punishment for the offense,” a sentence of probation

9    would be “grossly inappropriate” in this case.          Id. at 451.    Congress

10   has recognized that in major white-collar cases, probation has been

11   granted “without due consideration being given to the fact that the

12   heightened deterrent effect of incarceration and the readily

13   perceivable receipt of just punishment accorded by incarceration were

14   of critical importance.”      S.Rep. No. 98–225, at 91–92 (1983),

15   reprinted in 1984 U.S.C.C.A.N. 3182, 3274–75.

16         A scheme to deceive federal investigators investigating you and

17   others for significant misconduct is a serious crime that shows a

18   lack of respect for the law, a lack of respect for law enforcement,
19   and warrants meaningful punishment.        It is essential that witnesses

20   provide truthful statements if they choose to provide any statement

21   at all.    Lying to investigators helps other criminals go unpunished

22   (not just the person who lies), risks incriminating innocent people,

23   significantly increases the taxpayer-funded expense of

24   investigations, and diverts government resources away from other

25   important matters.     Here, defendant was aware that the federal

26   government was investigating benefits provided by a businessperson to

27   multiple public officials, including defendant himself.            Defendant

28   knew that agents were interviewing multiple witnesses in this

                                           18
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1    corruption probe.     As the USPO recognized, defendant’s conduct was

2    “wholly unbecoming [of] a public official” and “undermined the

3    public’s trust.” (PSR Ltr. at p. 3.)         By lying to the FBI and

4    attempting to tamper with a witness in a federal corruption

5    investigation, not only did defendant violate his oath of office, he

6    violated the trust of his electorate.         The entire public suffers as a

7    result.    Just punishment demands a significant period of

8    incarceration.

9          D.    History and characteristics of the defendant are both
                 aggravating and mitigating
10
           As the USPO points out, defendant has been married for several
11
     decades to a “supportive and empathetic spouse,” has a close
12
     relationship with his children, has a “wide variety of positive
13
     influences in his life,” and is “well supported by his friends and
14
     family, who have rallied around him during this difficult time” as
15
     have “community members and associates.”         (PSR Ltr. at p. 3.)      The
16
     government agrees that defendant, now 50, has commendably overcome a
17
     “difficult and traumatic” upbringing and impressively rose to the
18
     level of an elected City Councilmember, a reserve member of the LAPD,
19
     and a County supervisor candidate.         He then parlayed that to a
20
     lucrative career in private practice.         Defendant has no criminal
21
     convictions apart from the instant conviction.
22
           However, based on the limited analysis provided in its letter,
23
     the USPO’s recommendation of a probationary sentence seems to rely in
24
     large part on defendant’s public official status and standing in the
25
     community and the collateral consequences facing such a defendant.
26
     See PSR Ltr. at p. 3 (noting that defendant’s “arrest and conviction
27
     have been very public and that he has suffered these additional
28

                                           19
     Case 2:20-cr-00035-JFW Document 49 Filed 01/11/21 Page 25 of 30 Page ID #:535



1    humiliations”).     Courts have repeatedly made clear that this type of

2    disparate treatment favoring certain classes of defendants is

3    improper.    “[I]t is impermissible for a court to impose a lighter

4    sentence on white-collar defendants than on blue-collar defendants

5    because it reasons that white-collar offenders suffer greater

6    reputational harm or have more to lose by conviction.” United States

7    v. Prosperi, 686 F.3d 32, 47 (1st Cir. 2012); see also 28 U.S.C.

8    § 994(d) (requiring sentencing guidelines to be “entirely neutral as

9    to ... socioeconomic status of offenders); U.S.S.G. §§ 5H1.2

10   (“[e]ducation and vocational skills are not ordinarily relevant in

11   determining whether a departure is warranted”), 5H1.5 (“[e]mployment

12   record is not ordinarily relevant in determining whether a departure

13   is warranted”), 5H1.10 (socio-economic status is “not relevant in the

14   determination of a sentence”).       Collateral consequences “related to a

15   defendant’s humiliation before his community, neighbors, and friends

16   would tend to support shorter sentences in cases with defendants from

17   privileged backgrounds, who might have more to lose along these

18   lines. And ‘[w]e do not believe criminals with privileged backgrounds

19   are more entitled to leniency than those who have nothing left to

20   lose.’” United States v. Bistline, 665 F.3d 758, 760 (6th Cir. 2012)

21   (citation omitted).

22         The USPO also points out that defendant “has lived comfortably”

23   and will likely have “difficulty generating the type of income he was

24   used to earning.” (PSR Ltr. at p. 3.)         Once again, relying on this

25   type of purported mitigating factor to recommend the lowest possible

26   sentence is improper.      Individuals, like defendant, who have earned

27   significant levels of professional success and thus are able “to make

28   a decent living without resorting to crime are more rather than less

                                           20
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1    culpable than their desperately poor and deprived brethren in crime.”

2    United States v. Stefonek, 179 F.3d 1030, 1038 (7th Cir. 1999); see

3    also United States v. Kuhlman, 711 F.3d 1321, 1329 (11th Cir. 2013)

4    (“The Sentencing Guidelines authorize no special sentencing discounts

5    on account of economic or social status.”).

6          Particularly given defendant’s extensive aggravating conduct

7    here, defendant’s personal status and characteristics do not warrant

8    the special type of treatment recommended by the USPO.            Moreover, the

9    USPO’s analysis views them through an exclusively mitigating lens.

10   As a result, its analysis skews in favor of defendant without

11   considering the equally and in some cases more compelling view that

12   certain of defendant’s personal characteristics also contain an

13   aggravating quality.      The government avers a more evenhanded analysis

14   of these factors supports the government’s recommended sentence.

15               1.   Defendant had many choices; he chose poorly many times

16         Defendant is privileged to have family and community support; he

17   does not appear to have mental health or substance abuse problems.

18   These are positive facts.       The combination of these advantages also
19   make him unlike many of the defendants that come before this Court

20   who have committed crimes, at least in part, owed to one or more of

21   these factors.     For those defendants, such factors do not exonerate

22   but certainly may mitigate their criminal conduct.           By contrast,

23   consideration of these factors makes defendant’s criminal conduct

24   here all the more inexcusable.       He had a choice.      In fact, he had

25   many choices.    This is not the case of a defendant driven to drug

26   sales because he grew up in a drug house and so drug selling became

27   the only tangible skill he achieved as a result.           This is not the

28   case of a defendant driven to aberrant criminal behavior due to a

                                           21
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1    spiraling addiction.      Nor is it the case of a defendant driven to

2    crime because he was abandoned by society at the time of his conduct.

3    Defendant was not suffering from the onset of any mental ailments

4    each time he took a luxurious benefit then deliberately hid it on his

5    Form 700, or each time he lied to the federal government about his

6    conduct, or each time he attempted to corrupt the testimony of a key

7    witness to his wrongful actions.        Properly evaluated through this

8    framework, defendant’s personal status during the period of his

9    conduct in this case is an aggravating factor.

10               2.   Community support for a public official involved in a
                      corruption related offense is of limited mitigation
11                    value

12         Politicians convicted of offenses still often maintain a cadre

13   of support from long-time colleagues and/or constituents who, while

14   not seeking to minimize the criminal conduct, seek to highlight their

15   personal view of defendant’s laudatory accomplishments; but their

16   import at sentencing should not be overstated.          See United States v.

17   Vrdolyak, 593 F.3d 676, 683 (7th Cir. 2010) (“Politicians are in the

18   business of dispensing favors; and while gratitude like charity is a
19   virtue, expressions of gratitude by beneficiaries of politicians’

20   largesse should not weigh in sentencing.”).          Defendant’s ability to

21   gather many letters of support, including from prominent individuals

22   in the community, is “certainly impressive but not surprising....

23   One does not become [an elected City Councilmember and Council]

24   President Pro Tem without the confidence of many supporters, some

25   quite influential.     The letters must be viewed in that light.”

26   Morgan, 635 F. App'x at 450.

27

28

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1                3.   Defendant’s prompt guilty plea is a mitigating factor

2          A true mitigating factor is defendant’s prompt guilty plea in

3    this case and his related expressions of remorse.           Defendant did not

4    engage in frivolous litigation.        Instead, he quickly and clearly

5    communicated, through counsel, an interest in rapidly resolving his

6    case; and he then did so, pandemic notwithstanding.           Where a public

7    official publically and promptly concedes to the correct result, it

8    meaningfully serves the public by providing finality and clarity.               In

9    consideration of this factor along with learning of defendant’s

10   upbringing through defense counsel and the PSR, the government in

11   fact reduced its originally intended recommended sentence of 36

12   months to the current recommendation of 24 months. 7

13         E.    A lenient sentence will necessarily create unwarranted
                 sentencing disparities with less-culpable defendants who do
14               not enjoy the same status as defendant

15         The USPO argues that a “custodial term would be aberrant for

16   other defendants facing a similar guideline range with a background

17   like Englander’s.” (PSR Ltr. at p. 3.)         It is unclear what the basis

18   for this conclusion is, but, in any event, the facts and law show it
19   is deeply flawed.     The Guidelines make clear that the imposed

20   sentence for each individual defendant must reflect the sometimes

21   vastly disparate ways different defendants may commit the same crime.

22   The range is a range for a reason.        Where there are aggravating

23   factors for a defendant and his conduct, the court should increase

24   the sentence within or above that range to a degree rooted in the

25   court’s analysis of the § 3553(a) and guideline factors.            Calling a

26

27         7Defendant’s plea agreement allows the government to recommend
     a sentence up to 60 months’ custody and, as stated above, defendant
28   agreed to an appellate waiver of 36 months’ imprisonment. (CR 24
     ¶ 14.)
                                     23
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1    custodial term for the undisputed factual scenario here “aberrant” is

2    irreconcilable with these facts and rejected by the proper weighing

3    of the statutory factors, as set forth above.          Quite to the contrary,

4    compare sentencing: (a) a wealthy and powerful former City councilman

5    for criminal conduct stemming from (b) his repeated acceptance of

6    illicit benefits spanning the gamut of stereotypical corruption, (c)

7    his repeated material lies to the federal government investigating

8    his conduct over a significant period of time, and (d) his extensive

9    and multiple efforts at obstruction of a key witness to the exact

10   same term as a private citizen who, on a single federal form, falsely

11   checked one box is the height of unwarranted sentencing disparity.

12   Yet this is precisely the grossly inequitable treatment that would be

13   occasioned by a probationary sentence here.

14          “Congress’s primary goal in enacting [18 U.S.C.] § 3553(a)(6)

15   was to promote national uniformity in sentencing.” United States v.

16   Saeteurn, 504 F.3d 1175, 1181 (9th Cir. 2007) (citation omitted).

17   Data available from the United States Sentencing Commission for

18   fiscal year 2019 for 97 nationwide cases shows that the average
19   imprisonment length for defendants sentenced under U.S.S.G. § 2J1.2

20   with Criminal History Category I was 17 months.          See United States

21   Sentencing Commission Interactive Data Analyzer, available at

22   https://ida.ussc.gov/analytics/saw.dll?Dashboard.           Using the more

23   general fraud based U.S.S.G. § 2B1.1, data for fiscal year 2019 for

24   3,977 nationwide cases shows an average imprisonment length of 27

25   months.   In addition, a custodial sentence of 24 months in custody is

26   consistent with comparable sentences for other false statement cases

27

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                                           24
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1    by public officials recently imposed in this district. 8

2    V.    CONCLUSION

3          For the foregoing reasons, the government respectfully requests

4    that the Court impose the following sentence: 24 months of

5    imprisonment, followed by three years of supervised release, a

6    $45,500 fine, 300 hours of community service, and a special

7    assessment of $100.

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24         8See, e.g., United States v. Leroy Baca, Case No. 16-CR-66(A)-
     PA (defendant, former sheriff of the Los Angeles Sheriff’s
25   Department, sentenced to 36 months in custody after jury trial
     conviction on one count of conspiracy in violation of 18 U.S.C.
26   § 371, one count of making false statements in violation of 18 U.S.C.
     § 1001, and one count of obstruction of justice in violation of 18
27   U.S.C. § 1503); United States v. Byron Dredd, Case No. 15-CR-569-DSF
     (defendant, former Los Angeles Sheriff’s Department deputy, sentenced
28   to 12 months in custody after jury trial conviction on one count of
     making false statements in violation of 18 U.S.C. § 1001).
                                     25
